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                                                                               2021CV02145                                                   e-Filed 9/21/2021 11:04 AM
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                                                                                                                                                          ac Tiki Brown
   SUMMONS                                                                SC.85.1                                                 ciyomgolme44-cemin tti
                                                                                                                                                           of State Court
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              IN THE-SUPERIOR/STATE COURT OF
                                                                                         Clayton                                     COMITY
                                                                     STATE OF GEORGIA

    Darrell Morgan                                                                          CIVIL AcrioN                     2021CV02145
                                                                                        , NUMBER
    Sherry Mason


                                                                PLAINAIA4
                    vs.
(American Airlines, Inc.,

    Registered
     .„        Agent: C T.Corporation
    289 S. Culver Street, Lawrenceville, GA 30046
                                                           .DEFENDANT



                                                                              SUMMONS


   TO TB:5 ABOVE NAMEiD DEFENDANT:
      You are hereby summoned and required to 61e with the Clerk of Said cow and serveopon the Plaintiff's attorney, whose name
   and address is:
   Danielle Obiorah
   Obiorah Fields, LLC
   157 S. McDonough Street
   Jonesboro, GA 30236
   404-994-6218 - Phone
                                           herewith served upon you, within 30 days after service of this summons upon you,
                                                                                                                                                 exclusive
   an answer to the complaint which is
   of the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint
      21ST                          SEPTEMBER                          21
   Thi     day of                                                    ,20-

                                                                                           • Clerk of-Ouperiorrntate Court '

                                                                                                                      Tashea Matthews
                                                                                            BY
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                   SUMMONS                                                                      SC.854                                                   ck"c4014
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                                   IN nu,SUPERIOR/STATE COURT OF                                                                                            COUNTY
                                                                                        STATE OF GEORGIA

                        Darrell Morgan                                                                          CIVIL ACrioN                      2021CV02145
                                                                                                           . NUMBER
                        Sherry Mason


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                                                         VS.
                       American Aviation Supply, LLC
                        egistered Agent: C T.Corporation
                       289 S. Culver Street, Lawrenceville, GA 30046

                                                                              .DEFENDANT



                                                                                                  SUMMONS


                   TO TifB ABOVE NAM121)DEFENDANT:

                      You are hereby stirMOned Lind regaired to file with the Clerk of said out and serve.upon the Plaintiff's attorney, whose name
                   and address is:
                  Danielle Obiorah
                  Obiorah Fields, LLC
                  157 S. McDonough Street
                  Jonesboro, GA 30236
                  404-994-6218 - Phone
                  .ao, autp.veT to the complaint which is herewith served upon you, within 30 days after service of this summons upon you,exclusive
                   of the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
                       21ST                  SEPTEMBER                      21
                     -
                   This           day of                               ,20


                                                                                                               • Clerk of-OupefloOtate Court •
                                                                                                                               Tashea Matthews
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                                                  2021CV02145




                                                                                                                      Tiki Brown
                                                                                                             Clerk of State Court
                                                                                                        Clayton County, Georgia
                                                                                                               Tashea Matthews
                                   IN THE STATE COURT OF CLAYTON COUNTY
                                              STATE OF GEORGIA

              DARRELL MORGAN,
              SHERRY MASON
              Plaintiffs,

              v.                                                    CIVIL ACTION
                                                                    FILE NO.:2021CV02145
              AMERICAN AIRLINES INC.,
              AMERICAN AVIATION SUPPLY,
              LLC, JOHN DOES 1-10, ABC                              JURY TRIAL DEMANDED
              CORPORATION 1-10.

              Defendants.


                                                        COMPLAINT

                    NOW COME Plaintiffs, Darrell Morgan and Sherry Mason, by and through their
             undersigned attorneys, and for their complaint state:

                                                               1.

                    Plaintiffs DARRELL MORGAN and SHERRY MASON reside at 9625 Bark Chip Way,
             Douglasville, Georgia, and is subject to the jurisdiction of this court.
                                                               2.

                    Defendant American Airlines, Inc. (“American Airlines”) is a Texas corporation,
             operating its business located at 3400 North Inner Loop Rd., Ste. 102, Hapeville, Georgia 30354.
             Defendant may be served by and through its registered agent, C T Corporation System, 289
             South Culver Street, Lawrenceville, GA 30046. American Airlines is subject to the jurisdiction
             and venue of this court.
                                                               3.
                    Defendant American Aviation Supply, LLC. (“American Aviation”) is a Texas
             corporation, operating it business located at 3400 North Inner Loop Rd., Ste. 102, Hapeville,
             Georgia 30354 Defendant may be served by and through its registered agent, C T Corporation


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             System, 289 South Culver Street, Lawrenceville, GA 30046. American Airlines is subject to the
             jurisdiction and venue of this court.


                                                              4.

                    Corporate Defendants No. 1 through 10 are believed to be Georgia or foreign
              corporations, partnerships, associations or other legal entities that have transacted business in
              the State of Georgia and are responsible for the injuries and damages incurred by Plaintiff. Once
              the identity and the whereabouts of the Corporate Defendants are established, said
              Defendant(s) will be served with a copy of summons and complaint as provided by law.
              Corporate Defendants No. 1 through 10 are subject to the jurisdiction and venue of this Court.



                                                         5.
                    Defendant John Doe Corporation 1-10 provided services to Plaintiff through its agents
             and/or employees, and others for whom it bears legal responsibility.

                                                              6.
                    Plaintiff is informed and believes that at all times relevant to this action, Defendants were
             the agents or employees of each other, and in doing the things alleged herein were acting within
             the course and scope of their agency and/or employment and with the permission, knowledge,
             ratification, consent and/or affirmation of the co-defendants.


                                                              7.
                    Whenever and wherever reference is made to individuals who are not named as
             Defendants in this action, but were the agents and/or employees of Defendants, it is alleged that
             such individuals at all time acted on behalf of Defendants named in this action within the course
             and scope of their respective agencies and /or employments.

                                                           FACTS




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                                                                8.

                     Defendants at all times relevant hereto, owned or operated, leased and/or possessed a
             warehouse located at 3400 North Inner Loop Rd., Ste. 102, Hapeville, Georgia 30354.

                                                           9.
                     On or about September 26, 2019 the Plaintiff Darrell Morgan, within the scope of his job
             duties, arrived at the American Airlines loading dock to pick up a load of items from
             Defendants.

                                                               10.
                     Plaintiff Darrell Morgan proceeded to back his vehicle up to the loading dock. The
             Plaintiff exited his vehicle to place the dock steel bar into place. As Plaintiff laid the steel bar
             down, it suddenly and violently snatched out of his hand, hitting him in the head. Plaintiff
             sustained bodily injuries to his head, shoulder and has suffered from memory loss, speech
             impairment and headaches.

                                            COUNT 1-PREMISES LIABILITY

                                                              11.
                     Plaintiff re-alleges and incorporates herein all preceding paragraphs of this Complaint.

                                                            12.
                     Defendants owe invitees, such as Plaintiff, a duty to exercise ordinary care to keep the
             Premises and its approaches safe.

                                                          13.
                     Defendants breached the duty owed to Plaintiff by failing to exercise ordinary care to
             keep the Premises safe.

                                                               14.

                     Defendants knew or should have known of the existence of the faulty dock steel bar.




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                                                             15.

                    Defendants had actual or constructive knowledge of the dangerous and/or hazardous
             condition that caused Plaintiff’s injuries.


                                                               16.
                    Plaintiff’s injuries were the direct result of the unsafe and hazardous condition in which
             the defendant maintained the steel bar which constituted a dangerous condition. The Defendants
             acted negligently and recklessly in failing to keep the loading dock steel bar safe for
             visitors. The Defendants acted negligently and recklessly in failing to properly inspect the area
             for safety hazards.
                                                             17.

                    Defendants breached its duty of care by failing to maintain the loading dock steel bar in a
             hazard free condition and/ or to post appropriate warnings of existing hazards for the Plaintiff
             and it’s employees and or business invitees.

                                                            18.

                    Plaintiff did not know and could not reasonably have learned of the danger posed by the
             broken steel bar.

                                                             19.

                    At all times relevant hereto, Plaintiff was exercising reasonable care for his own safety.

                                                             20.

                    Defendants failed to exercise reasonable care to keep the Premises safe by:

                a) Violating O.C.G.A. § 51-3-1 by failing to exercise ordinary care to keep the Premises
                   safe and free from dangerous and/or hazardous conditions that Defendant knew or should
                   have known about;

                b) When they negligently maintained the loading dock area;

                c) When they negligently instructed and failed to properly instruct Plaintiff in the use of the
                   loading dock and steel bar.


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                 d) When they negligently failing to contract with competent maintenance personnel to
                    perform maintenance and repair of the faulty steel bar;

                 e) When they were otherwise negligent in the instruction, operation and use of the loading
                    dock and steel bar;

                 f) When they negligently failed to take all reasonable and necessary precautions to ensure
                    that the loading dock was free from harm such as the one that injured Plaintiff, would not
                    occur;

                 g) When they negligently failed to warn of the deficiencies and dangers in the steel bar
                    rendering it unsafe;

                 h) When they were otherwise negligent in the maintenance, operation of the loading dock
                    and the supervision and training of the use of the loading dock.


                     As a proximate result of the result of Defendants' breach of duties, the accident occurred
             and Plaintiff Darrell Morgan suffered injuries and damages as more fully alleged below.

                                                               21.

                     Defendants are negligent per se.

                                                               22.

                     Defendants’ failure to exercise ordinary care is the direct and proximate cause of
             Plaintiff’s injuries.

                                                            23.
                     Each of the forgoing acts and omissions constitute an independent act of Defendants’
             failure to exercise ordinary care and one or more or all above stated acts were the proximate
             causes of Plaintiff’s injuries. Defendants are liable for Plaintiff’s injuries, pain and suffering, cost
             of treatment, cost of surgeries, and all other elements of damages allowed under the laws of the
             State of Georgia.
                                                   COUNT II
                                           NEGLIGENT TRAINING AND
                                       SUPERVISION AS TO ALL DEFENDANTS


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                                                             24.

                    Plaintiff re-alleges and incorporates herein all preceding paragraphs of this Complaint.

                                                            25.
                    Defendants were negligent in failing to adopt appropriate policies and procedures to
             make sure that appropriate inspections for hazardous conditions were performed on the premises
             and in failing to train its employees concerning safety procedures for inspecting and maintaining
             the premises.

                                                           26.
                    Defendants were negligent in training and supervising its staff as to preventing,
             inspecting for, timely remedying, and/or warning patrons about the faulty steel loading bar.

                                                             27.

                    As a direct and proximate result of Defendants negligence in training and supervising its
             employees, Plaintiff was injured.

                                                             28.

                    All of Plaintiff's injuries and damages, as aforesaid, were caused solely, directly and

             proximately by the negligence of the Defendants.


                                                      COUNT III
                                                 VICARIOUS LIABILITY

                                                             29.

                    Plaintiff re-alleges and incorporates herein all preceding paragraphs of this Complaint.

                                                             30.

                    At all times relevant to this action, the individuals responsible for inspecting, cleaning
             and maintaining the area where Plaintiff was injured were acting within the scope of their
             employment.



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                                                              31.

                    Defendants are responsible for the conduct of these individuals under the doctrine of
             respondent superior, agency or apparent agency.


                                                        COUNT IV
                                                        DAMAGES

                                                             32.
                    Plaintiff re-alleges and incorporates herein all preceding paragraphs of this Complaint

                                                              33.

                    As a direct and proximate result of the Defendants' joint and several negligent and
             wrongful acts and omissions, Plaintiff has incurred reasonable and necessary medical expenses.

                                                              34.

                    Defendants actions showed willful misconduct, malice, fraud, wantoness, oppression or

             an entire want of care, which raises the presumption of conscious indifference to the

             consequences. Thus, Plaintiff is entitled to punitive damages from Defendants under O.C.G.A. §

             51-12.5.1.


                                                              35.

                    Plaintiff is entitled to recover for the injuries and pain and suffering sustained and all
             other elements of damages allowed under Georgia law, including but not limited to all
             compensatory, general, special, incidental, consequential, punitive and/or other damages
             permitted. Plaintiff states her intention to seek all compensatory, special, economic,
             consequential, general, punitive and all other damages supported by the evidence and permissible
             under Georgia law, including, but not limited to:

             a)     Personal injuries;
             b)     Past, present and future pain and suffering;
             c)     Loss wages;
             d)     Disability;
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             e)     Mental Anguish;
             f)     Loss of the capacity for the enjoyment of life;
             g)     Incidental expenses;
             h)     Past, present and future medical expenses; and
             i)     Permanent injuries.


                                                      JURY DEMAND

             Plaintiffs demand trial by jury on all counts so triable as of right

                    This 21st day of September 2021.


                                                                    Respectfully submitted,




                                                                    Danielle Bess Obiorah
                                                                    Georgia Bar No.: 055770
             OBIORAH FIELDS, LLC
             157 S. McDonough Street
             Jonesboro, Georgia 30236
             Phone: 404-994-6218
             Email: dbo@obiorahfields.com




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